    Case 3:17-cv-00072-NKM-JCH Document 368-1 Filed 10/26/18 Page 1 of 1 Pageid#: 3488




                                            IN THE UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF VIRGINIA



             ELIZABETH SINES et al.                                    :      Case No. 3:17-cv-00072

                                    Plaintiff                          :      Judge MOON


                                                                       :
                        -v-

             JASON KESSLER et al.                                      :

                                                                       :
                                    Defendants



                                     DECLARATION OF MATTHEW HEIMBACH


                        Mr. Matthew Heimbach, having been duly cautioned, declares and states as follows:


                  1.          This declaration is based on personal knowledge.

                  2.          I have been advised by my attorney that third party ESI vendors cost upwards of
                              $5,000 per device.

                  3.          I cannot afford to pay for third party ESI vendor examinations of any electronic
                              devices.

                  I declare under penalty of perjury that the foregoing is true and correct. Executed on
                  October 24, 2018.



                                                                       Matthew Heimbach

Signature:   Matt Heimbach
             Matt Heimbach (Oct 26, 2018)

    Email: REDACTED                                              1
